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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION
    SYDNEY NICOLE LLC                               §
    AND SYDNEY NICOLE                               §              Case No.: 1:24-cv-00423
    GIFFORD,                                        §
                                                    §
    Plaintiffs,                                     §
                                                    §                   Jury Trial Demanded
    v.                                              §
                                                    §
    ALYSSA SHEIL LLC AND                            §
    ALYSSA SHEIL,                                   §
                                                    §
                  Defendants.                       §



         DEFENDANTS’ PARTIAL MOTION TO DISMISS1 COUNTS 2, 3, 5, 6, 7, & 8 OF
                           PLAINTIFFS’ COMPLAINT.




1
  The filing of a partial motion to dismiss “triggers Rule 12(a)(4) tolling of time for the defendant to
answer.” Banik v. Thomson, No. 7:16-cv-462, 2017 WL 11713709, at *2 (S.D. Tex. Dec. 11, 2017); Smith
v. General Motors, LLC, No. 4:23-cv-379, 2023 WL 4849442, at *1 (N.D. Tex. July 7, 2023) (denying
motion for default as premature because “Defendant still is entitled to fourteen days after notice of the
Court’s action” on a partial motion to dismiss). Defendants will answer the remainder of Plaintiffs’ claims
and bring its counterclaims within fourteen days after notice of the court’s action.
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                                        INTRODUCTION
       Lacking any real merit to any of her claims, Gifford takes a “throw everything at the wall

and see what sticks” approach to pleading her complaint, apparently believing quantity of claim

trumps quality. It doesn’t. While none of Gifford’s allegations have substance, some of them at

least pass pleading muster; this motion focuses on the ones that don’t: Counts 2, 3, 5, 6, 7, and 8.

       Gifford’s theory of vicarious liability listed in Count 2 does not state a claim as to Shiel

because it attempts to hold Sheil vicariously liable for her own actions, not those of a “third party.”

It also fails to the LLC because it fails to allege that the LLC “controls” Sheil.

       Gifford cannot state a claim under the Digital Millenium Copyright Act because she cannot

allege that Sheil took any of Gifford’s photos, removed or altered Copyright Management

Information, and then re-posted the photos. In fact, Gifford’s allegations directly contradict this,

calling into question the Rule 11 basis for bringing the claim in the first instance.

       Gifford’s misappropriation of likeness claim fails for similar reasons: Gifford has not

alleged that a likeness has been misappropriated. There is no allegation that Sheil is passing off

pictures of Gifford as Sheil. Not one of Sheil’s photos can be used to identify Gifford. Again, it

strains credulity to believe this claim could have been alleged in good faith in the first instance.

       Gifford’s tortious interference allegations likewise facially contradict the elements of a

claim. Though she does not even manage to allege that it is probable any relationship would form,

at most Gifford alleges that relationships would be formed with Amazon, not her. Giffords is not

Amazon, so her complaint facially screams that these claims too should have never been pled.

       Finally, Gifford’s Texas-law claims of unjust enrichment and unfair competition are

preempted by the Federal Copyright Act. Moreover, her claim of unjust enrichment fails to allege

that Sheil obtained anything “from” Giffords. Accordingly, all of these claims should be dismissed.



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                                           ARGUMENT
I.     Count 2: Gifford’s complaint does not allege that either Defendant vicariously
       infringed—it alleges that both Defendants directly infringed.

       To state a claim of vicarious copyright infringement, a Plaintiff must allege three elements

(1) a direct act of infringement by a third party, (2) that the defendant had “supervisory authority

over the [third party] infringer,” and (3) that the defendant had a “direct financial interest” in the

infringement by the third party.2 Here, though the factual allegations in Gifford’s Complaint (if

taken as true, which Sheil disputes) can potentially support a claim of direct infringement by each

of the Defendants, they fail to plausibly allege that either Defendant met the elements of vicarious

copyright infringement as to the other.

       As an initial matter, the Complaint consistently alleges that both Defendants committed

acts constituting underlying infringement: this fails the first element because the acts must be

committed by a third party, not the Defendant themselves. See e.g., Dkt. 1 at ¶ 16 (“Defendants,

by and through the Instagram account @alyssasheill, have infringed”); ¶ 20 (“Defendants have

replicated Plaintiffs’ posts”) ¶ 24 (“Defendants posted a video.”). In other words, the Complaint

alleges that these were joint actions taken by both Defendants, but those allegations do not support

the particular theory of secondary liability listed in Count 2, so it should be dismissed.

       In particular, the first element is not met as to a vicarious claim against Sheil. Read

generously, the Complaint attempts to allege that the LLC committed a direct act of infringement

and is a “third-party” to Sheil. But LLCs can “act only through the persons connected with it” and

cannot have committed an underlying infringing act unless Sheil herself did it. But Sheil is not a



2
 Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 937 (2005) (must be third
party); Canada Hockey LLC v. Texas A&M Univ. Athletic Dep't, 484 F. Supp. 3d 448, 467 (S.D.
Tex. 2020), aff'd sub nom. Canada Hockey, L.L.C. v. Texas A&M Univ. Athletic Dep't, No. 20-
20503, 2022 WL 445172 (5th Cir. Feb. 14, 2022) (elements).
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“third-party” to herself. See Calsep A/S v. Intelligent Petroleum Software Sols., LLC, No. 4:19-

CV-1118, 2020 WL 10759435, at *1 (S.D. Tex. Mar. 2, 2020).

        Count 2 also fails as to the LLC because the Complaint does not allege facts supporting the

element that the LLC could “supervise or control” Sheil’s actions. In fact, it pleads the opposite:

stating that the LLC is merely “the vehicle through which Alyssa Sheil conducts her business.”

Dkt. 1 at ¶ 8. Gifford alleges that Shiel controls the LLC, not the other way around, so this theory

fails. Indeed, it is not plausible that a business entity itself can control the single living person who

owns it. While the Complaint attempts to state that the LLC had the “right and ability to supervise

the infringing content”, Dkt. 1 at ¶ 48, that is not the test. The Complaint does not allege that the

LLC controlled Shiel, so these allegations fail.

II.     Count 3: Gifford fails to state a claim for any Digital Millenium Copyright Act
        (“DMCA”) violations claim under 17 U.S.C. § 1202(b) because she fails to identify a
        single identical image that has been reproduced without Copyright Management
        Information.

        Gifford alleges that Sheil violated the DMCA when she “intentionally created

indistinguishable posts from [Gifford’s] posts,” citing a compilation of posts in an attached exhibit.

Dkt. 1 at ¶ 60, Exhibit A. Gifford’s claim fails as a matter of law because the allegedly

“indistinguishable” posts are facially distinguishable: there is no copy and paste of identical images

with a copyright cropping.

        This reality is fatal: cases evaluating DMCA violations ubiquitously hold that a claim only

passes muster where a plaintiff alleges that a defendant has reproduced or altered an identical

image or work after the removal of Copyright Management Information (“CMI”), such as a

copyright notice. By contrast, a claim is not viable when a plaintiff merely alleges creation of a

new work or image that the plaintiff thinks is “too similar.” Because that is exactly what Gifford

is claiming here, her allegations fail as a matter of law.

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   A. To allege a DMCA claim, a plaintiff must allege the removal or alteration of CMI
      from the Plaintiff’s works.

       To plead a violation under subsection 1202(b) in this case, Gifford would need to allege

(1) the existence of CMI on her works; (2) that Shiel intentionally removed or altered that CMI,

and (3) that Shiel then “distributed” Gifford’s works. Shihab v. Complex Media, Inc., No. 21-CV-

6425 (PKC), 2022 WL 3544149, at *4 (S.D.N.Y. Aug. 17, 2022); Gattoni v. Tibi, LLC, 254 F.

Supp. 3d 659, 664 (S.D.N.Y. 2017). CMI includes information accompanying a work such as the

title, name of the author, or other categories of identifying information, including the “familiar ©

copyright notice” often attached to protected works. Id. Here, the Complaint does not allege the

second or third elements because it fails to allege that Shiel removed anything from or distributed

Gifford’s works.

       In Tibi, the trial court denied a motion to dismiss regarding a DMCA 1202(b) claim

premised on the reproduction of identical images. Id. The plaintiff alleged that the defendant

“copied” a particular photograph, “cropped it” and “omitted” the copyright notice— “©Matilde

Gattoni Photography, 2016, All rights reserved”—that the original author had included. Id. The

Tibi court noted that the “familiar © copyright notice” has been held to be CMI, and that because

the complaint alleged that the defendant had reproduced the identical, yet cropped, photograph

after removing the CMI, the plaintiff had adequately stated a claim. Id.

       Likewise, in Shihab, five photographs of hip-hop artists were at issue. Shihab v. Complex

Media, Inc., No. 21-CV-6425 (PKC), 2022 WL 3544149, at *2 (S.D.N.Y. Aug. 17, 2022). The

plaintiff, a photographer, alleged that the defendant had removed a watermark embedded in each

of the five photographs containing CMI: “JAMIL GS ©.” Id. at *2. Plaintiff further alleged that

the defendant intentionally removed and cropped out the watermarks and reproduced the

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photographs in a copied post. Id. Indeed, the complaint included the identical images with the

cropped CMI:




Id. at 2 (Images in original, red boxes added for emphasis).

       Like Tibi, the Shihab court found that because the plaintiff alleged that an identical

photograph was reproduced with CMI removed, a claim was properly pled. Id. at *6. But Gifford

makes no similar allegations.

   B. Because the Complaint only alleges the creation of similar images—not the
      reproduction of identical ones—Gifford’s DMCA claim fails as a matter of law.

       In contrast to Tibi and Shihab, Gifford has not alleged that Sheil “copied” any particular

work, nor that any CMI was “altered or removed” from one of her works. Instead, she alleges that

Sheil “created indistinguishable posts”; an invented threshold untethered to the DMCA.



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          Gifford’s Complaint and Exhibit A facially demonstrate that her DCMA fails as a matter

of law because the so-called “indistinguishable” posts are not reproductions or duplications of any

works where CMI has been removed. As an example:




Dkt. 1 at Exhibit A at 4.
          Simply put, this is not an identical image or work that is protected under the DMCA. To

state a claim under §1202(b) Gifford would have to (1) allege that Sheil removed or altered CMI

from the first image (she didn’t) and (2) allege that Sheil then distributed the altered image (she

didn’t). Tibi, at 664. Neither element is met. Most obviously, because second photograph is plainly

a different photograph.3 Indeed, the complaint concedes this: acknowledging that Sheil’s posts



3
    The same is true for all the paired images in the Complaint. Every time, the images are different.
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were “created” by Sheil. Dkt. 1 at ¶ 60. This ends the inquiry. Creating posts is not a reproduction

or re-distribution of original works in a way that could plausibly violate §1202(b). Indeed,

throughout their decisions, the Tibi and Shihab courts noted multiple times that the DMCA protects

against the “distributing” or “altering” of a specific image, then passing it off as one’s own, but

the DMCA does not prohibit the creation of completely different images, as Gifford alleges here.

See generally, Tibi and Shihab.

       The overarching theme of Gifford’s gripe is that she believes Sheil’s posts and overall

aesthetics are “too similar” to Gifford’s. Setting aside the merits of that theory (there are none), it

is not a theory that supports a claim under the DMCA. Gifford has completely failed to allege a

claim for removal of CMI or reproduction of images under the DMCA. This claim should be

dismissed, and no leave to amend should be granted because amendment would be futile as the

allegedly “indistinguishable” images are facially different.4

III.   Count 5: Because Gifford fails to allege any element of a claim for misappropriation
       of likeness, that claim should also be dismissed.

       A claim for misappropriation of likeness has three elements “(i) that the defendant

appropriated the plaintiff’s name or likeness for the value associated with it, and not in an

incidental manner or for a newsworthy purpose; (ii) that the plaintiff can be identified from the

publication; and (iii) that there was some advantage or benefit to the defendant.” Matthews v.

Wozencraft, 15 F.3d 432, 437 (5th Cir. 1994). Such appropriation only “becomes actionable when

used ‘to advertise the defendant’s business or product, or for some similar commercial purpose.”

Matthews v. Wozencraft, 15 F.3d 432, 437 (5th Cir. 1994). Critically, when evaluating claims of

misappropriation of likeness, “Texas law applies a very restrictive interpretation of the tort.”



4
  In addition, after dismissal, Defendants should be awarded their reasonable attorney’s fees for
their time spent in connection with this claim. 17 U.S. Code § 1203(b)(5).
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Doggett v. Travis Law Firm, P.C., 555 S.W.3d 127, 130 (Tex. App.—Houston [1st Dist.] 2018, pet.

denied).5

       A.       The Complaint fails to allege that Sheil appropriated Gifford’s name or
                “likeness”.

       To meet the first element, Gifford must show that Sheil appropriated Gifford’s name or

likeness. Matthews, at 437. Here, the Complaint never alleges that Sheil used Gifford’s name.

Rather, it alleges misappropriation via social media platforms operated under the usernames

“Alyssa Sheil,” @alyssasheill, and @alyssasheil. Dkt. 1 at ¶ 8. Because the Complaint does not

attempt to allege misappropriation of Gifford’s name, this element could only be met if it alleges

the appropriation of Gifford’s legally recognized “likeness.” Here, it does not.

       Case law defines “likeness” as a term of art that refers to distinctive traits by which a person

can be clearly identified, such as her face or distinctive singing voice. Matthews, 15 F.3d at 438.

Gifford claims Sheil misappropriated her likeness by “imitat[ing] outfits, poses, hairstyles,

makeup, and the manner of speaking of [Gifford],” and “obtain[ing] a flower tattoo on her upper

arm that is nearly identical to a flower tattoo [Gifford] has on her upper arm.” Dkt. 1 at ¶ 75. None

of these constitute misappropriation of Gifford’s likeness. Indeed, it is not enough to allege that a

person looked similar or copied a style or manner of speaking. To allege a claim of

misappropriation of likeness, it must be alleged that people who heard Sheil speak or saw her

photographs “believed” that was in fact Gifford appearing in the posts or speaking. Waits v. Frito-

Lay, Inc., 978 F.2d 1093, 1101 (9th Cir. 1992).




5
  As an initial matter, Plaintiff Sydney Nicole LLC’s claim should be dismissed because it is a
business entity cannot be a plaintiff for such a claim. Doggett, at 132 (Tex. App. 2018) (“Texas
courts have not recognized a corporation’s right to privacy.”). Regardless, the entire claim should
be dismissed, because none of the allegations in the Complaint could satisfy any element of this
claim.
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       Simply put, a plaintiff does not state a claim for a misappropriation where she alleges that

a defendant imitated her choice of aesthetics. Rather, there must be an allegation that the defendant

used the plaintiff’s actual image, name, or voice to promote their products. Compare Matthews,

15 F.3d at 439 (rejecting misappropriation of likeness claim regarding a fictional book based on

the plaintiff’s life story); with Moore v. Big Picture Co., 828 F.2d 270 at 275 (5th Cir. 1987)

(affirming liability for an “unauthorized use of Moore’s name”); and Elvis Presley Enterprises,

Inc. v. Capece, 950 F. Supp. 783, 801 (S.D. Tex. 1996), rev’d on other grounds, 141 F.3d 188 (5th

Cir. 1998) (finding misappropriation where owners of The Velvet Elvis nightclub used Elvis’s

name in its service mark, used ads containing pictures or images of Elvis, and used phrases such

as “Elvis has left the building” in its ads). These cases where a misappropriation of likeness claim

has survived all share a common theme: the defendant actually used the plaintiff’s likeness.

       By contrast, Gifford merely alleges that Sheil imitated her aesthetic choices—she wore

similar closes and made similar poses. Gifford bases her claims on pictures and videos Sheil has

posted of Sheil and Sheil’s home—not passing off Gifford or Gifford’s home as herself and her

own. In Exhibit A to the Complaint, Gifford has attached more than twenty pictures and videos

Sheil has posted of herself—using her own likeness—and none that Sheil has posted of Gifford.

       The alleged misappropriations—outfits, poses, hairstyles, makeup, manner of speaking,

and tattoos—are not legally-protected “likenesses.” Legally-protected likenesses include a images

of a person’s face and a recordings of a singer’s distinctive singing voice—traits so distinctive that

their owner is “clearly identifiable.” Elvis Presley Enterprises, Inc., 950 F. Supp. at 801. It does

not follow that Sheil, posting pictures and videos of herself, would be appropriating the likeness

of any other person who wears similar makeup or clothes.




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       Sheil’s own unique tattoos are clearly visible in her posts. Though tattoos are not legally-

protected likenesses, Gifford claims that Sheil’s “nearly identical” flower tattoo constitutes

misappropriation. However, Sheil’s flower tattoo is distinct from Gifford’s: it depicts multiple

flowers of different species; Gifford’s depicts one rose. If Gifford claims a tattoo constitutes a

likeness—meaning that it is so distinct that a person could be clearly identified from it—she must

also concede that Sheil’s distinct likeness can be identified by the differences in that tattoo.6

       Sheil’s platforms clearly portray only her own likeness, and not Gifford’s. They depict

hundreds of images of Sheil’s own face and person, her home, and her belongings. Indeed, in many

of the allegedly “infringing posts,” Sheil is wearing a necklace with a large “A” on it, referencing

her own name, Alyssa. E.g., Ex. A at 3, 14, 16, 33. On top of that, each and every post is made

under one of Sheil’s own internet usernames; in other words, even if Sheil makes similar aesthetic

choices as Gifford, she cannot not become identifiable as Gifford because the account self-

identifies as Sheil. Sheil remains clearly identifiable as only herself. Pictures and videos of Sheil

therefore cannot contain Gifford’s likeness, and Gifford cannot meet the first element of this claim.

    B. Gifford cannot be identified from Sheil’s platforms.

       To meet the second element, Gifford must show that she can be identified from Sheil’s

posts. Faloona by Fredrickson v. Hustler Magazine, Inc., 607 F. Supp. 1341, 1360 (N.D. Tex.

1985), aff’d, 799 F.2d 1000 (5th Cir. 1986) (“The public must be able to identify the [plaintiff]

from the photograph or drawing[.]”). Because there are no photographs or drawings of Gifford on

Sheil’s platforms, Gifford cannot be identified in Sheil’s posts.




6
  Further, Sheil is also identifiable by a numeric tattoo on her ribcage depicted in one of her
videos—a tattoo that Gifford does not have. Ex. A at 38. By Gifford’s own standard, Sheil’s tattoos
highlight the clearly-identifiable differences between their likenesses.
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        Rather, only Sheil is identifiable in her posts. In the videos and images Gifford has attached,

it is clear that Sheil and Gifford are two different people. E.g., Ex. A at 33–34. It is plain to see

from the Complaint that Sheil is not “a virtually indistinguishable replica” of Gifford. See Dkt. 1

at ¶ 75. Their eyes are different colors, they have different features, and they have different voices.

They are two different people with two different faces; the photographs appear under different

internet usernames. Most importantly, the Complaint merely alleges that Shiel’s images look like

Gifford, not that Gifford herself is actually identifiable from the images—because she is not.

Accordingly, this element has not been alleged.

    C. Sheil did not obtain a benefit or advantage from the use of Gifford’s likeness.

        As explained above, Sheil simply did not use Gifford’s name or likeness on so Sheil could

not have obtained a benefit from doing so. Moreover, any “benefit” alleged in the Complaint is not

the kind of benefit recognized by this cause of action. Accordingly, Plaintiffs cannot meet the third

element of their claim.

        The “benefit” element requires Gifford to prove that Sheil derived some commercial

benefit from the use of plaintiff’s name or likeness. Henley v. Dillard Dep’t Stores, 46 F. Supp. 2d

587, 596 (N.D. Tex. 1999). Typically, this means appropriation of a likeness “becomes actionable

when used ‘to advertise the defendant’s business or product.’” Matthews at 437. For example, a

football player’s image on a Coca-Cola ad diminishes the value of a potential future endorsement

by him of a competitor soda company. See Kimbrough v. Coca-Cola/USA, 521 S.W.2d 719, 720

(Tex. App.—Eastland 1975, writ ref’d n.r.e.) (finding misappropriation where a Texas A&M

football star’s image was used in a Coca-Cola ad without his consent).

        Critically, Texas law “creates property rights [in a person’s likeness] only where the failure

to do so would result in the excessive exploitation of its value.” Matthews at 437 (emphasis added).

For that reason, where a plaintiff fails to establish that their likeness has a unique “intrinsic value,”
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it cannot be appropriated for a defendant’s benefit. Kimbrough. at 596 f.n. 10 (N.D. Tex. 1999)

(Citing RESTATEMENT 2D. TORTS §652C (1977); and Cox v. Hatch, 761 P.2d 556, 565 (Utah 1988)).

Gifford’s own allegations undercut this—if another influencer wearing similar gray sweatpants

really caused Gifford’s online empire to crumble, there can be no plausible allegation that Gifford’s

likeness or “style” had any unique or intrinsic value in the first place. On top of that, Gifford

Admits she and Sheil promote the same products. Dkt. 1 at ¶¶ 17–18 (alleging that both influencers

promoted The Tox Shop); ¶¶ 20–21 (alleging that both influencers promoted the same or similar

Amazon products including home office décor, a cream Nespresso® machine and rimmed glasses,

a nonstick pan set, acrylic calendars, wave-patterned rugs, and round stacking tables); ¶¶ 23–24

(alleging that both influencers posted content promoting the same apparel); ¶¶ 26 (alleging that

Sheil’s Amazon “Idea Lists” contains “a substantial number of the exact products listed on

[Gifford’s] list”). There is nothing “unique” or “intrinsic” about it.

       There is nothing unique or intrinsic about what Gifford promotes, and Gifford does not

gain the value from the promotion.

       In summary, because Gifford fails to allege facts supporting any elements of

misappropriation of likeness, this claim should be dismissed.

IV.    Count 6: Gifford fails to state a claim for tortious interference because she cannot
       plausibly allege a reasonable probability that any third party would enter a contract
       with her, nor an intent to interfere.

       To state a claim for tortious interference with prospective business relations, a plaintiff

must plausibly allege five elements:

               (1) there was a reasonable probability that the plaintiff would have
               entered into a business relationship with a third party;
               (2) the defendant either acted with a conscious desire to prevent
               the relationship from occurring or knew the interference was
               certain or substantially certain to occur as a result of the conduct;

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                (3) the defendant's conduct was independently tortious or
                unlawful;
                (4) the interference proximately caused the plaintiff injury; and
                (5) the plaintiff suffered actual damage or loss as a result.”
Coinmach Corp. v. Aspenwood Apartment Corp., 417 S.W.3d 909, 923 (Tex. 2013).

        Texas law does not protect amorphous “relations.” Rather, to allege a “prospective business

relation,” a plaintiff prove “a reasonably probably contract that would have been entered into but

for the interference.” Id. at 924. Gifford’s allegations fail to plausibly allege either of the first two

elements.7

        A.      The Complaint fails to plausibly allege a reasonable probability of a business
                relationship with a third party.

        To meet the first element, Gifford must establish that it is “reasonably probable,

considering all of the facts and circumstances attendant to the transaction,” that she would have

entered into a business relationship with a third party. Hill v. Heritage Res., Inc., 964 S.W.2d 89,

124 (Tex. App.—El Paso 1997, pet. denied). Here, Gifford has failed to plausibly allege that there

is a reasonable probability of any business relationship at all; she has not identified who the third

parties are or what the business relationships would be. Moreover, even if the Complaint points in

the direction of any business relationship being formed, it does not allege that those relationships

would be formed with Gifford.8



7
  In addition to Plaintiffs’ allegations of interference with potential customers or “followers,”
Plaintiffs make a cursory reference to interference with their agreement with Amazon. Dkt. 1 ¶ 83.
There are no facts supporting this. Has Amazon terminated its relationship with Plaintiffs? Altered
the terms of this unspecified “agreement”? Stopped doing business with Plaintiffs, or even
threatened to do so? The Complaint is silent on all of these points.
8
  For the same reason, any claim of interference with “existing relationships” should be dismissed,
because no such claim exists under Texas law. To the extent Gifford attempted to plead
interference with an “existing contract,” she has failed to plead the first element, the existence of
a contract with Gifford and her followers that was subject to interference. Prudential Ins. Co. of
Am. v. Fin. Rev. Servs., Inc., 29 S.W.3d 74, 77 (Tex. 2000).
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               1.      It is not “reasonably probable” that a business relationship would
                       form with random unspecified “followers” on social media.
       To show reasonable probability, “it is not necessary to prove that the contract would have

certainly been made but for the interference,” but plaintiffs must show that “more than mere

negotiations have taken place.” Hill v. Heritage Res., Inc., 964 S.W.2d 89, 124 (Tex. App.—El

Paso 1997, pet. denied). In evaluating this element, Texas courts have held that “mere phone calls

from potential customers do not reach the level of a reasonable probability that [the plaintiff] would

have entered into a business relationship. SP Midtown, Ltd. v. Urban Storage, L.P., No. 14-07-

00717-CV, 2008 WL 1991747, at *9 (Tex. App.—Houston [14th Dist.] May 8, 2008, pet. denied).

There, the court noted that the plaintiff “did not produce evidence of clients with which it had even

begun negotiating, but instead, only produced evidence [the defendant] was diverting phone calls

of people inquiring about” the plaintiff’s storage facility. Id.

       Changing the technology medium from telephones to TikTok does not change the legal

analysis. Though the technology has changed—and taps on a TikTok screen take the place of

phone calls—Gifford’s allegations here are, in essence, the same as those in SP Midtown, where

the alleged diversion led to a “drop in business.” Id. at *9. Here, Gifford alleges that Sheil confused

Gifford’s followers by having similar social media accounts, which “caused [Gifford] to lose

prospective and existing followers and user engagement.” Dkt. 1 at ¶ 83. Missing are any

allegations that Gifford ever had any “prospective” or “probable” relationship with any of these

“new followers.” To the contrary, Gifford does not even identify these followers, much less allege

that they knew or contacted any of them or had a framework in place for some kind about the

prospect of a business relationship. SP Midtown, 2008 WL 1991747, at *9 (“more than mere

negotiations must have taken place”). Here, Gifford does not even have a negotiation.




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       At most, Gifford has alleged that she generally advertises Amazon’s products to her

followers. Dkt. 1 at ¶ 80. Gifford has not alleged that she has ever spoken with a follower

personally, let alone begun entering into a business relationship with one. For these reasons, she

has not plausibly alleged that it was “probable” that any business relationship would be formed.

       2.      Gifford has failed to plausibly allege that any business relationship would be
               formed “with [Gifford].”

       Gifford’s claims should also be dismissed because they fail to allege that any business

relationships would be formed with Gifford; rather, the business relationships (the purchases of

items) exist between Amazon and its customers. Dkt. 1 at ¶ 81.

       As the Complaint concedes, influencers are paid to advertise Amazon products to potential

Amazon customers, by way of making a post with “a link to the product on Amazon.” Dkt. 1 at

¶ 27. As alleged by Gifford, any products purchased “are produced and shipped by Amazon.” Dkt.

1 at ¶ 31. Gifford does not allege that any follower would purchase anything directly from her or

enter any contract with her—these are solely Amazon customers. Accordingly, there is no

prospective business relationship with which Sheil could plausibly be interfere.9

       3.      Gifford has not plausibly alleged a conscious desire to prevent a relationship
               from occurring or knowledge that interference was certain or substantially
               certain to occur as a result of their conduct.

       Beyond the bald assertion that “Defendants acted with knowledge that Defendants’ conduct

was substantially certain to cause interference with the relationship between the Plaintiffs and

Plaintiffs’ existing and prospective followers and Amazon,” Gifford provides no factual

allegations to support this element. Dkt. 1 ¶ 84. And the allegations Gifford does make do nothing




9
 Gifford claims only an incidental benefit from the fact that she receives commission when people
purchase products from Amazon. Dkt. 1 at ¶ 82. But this incidental benefit to the Plaintiff is not a
business relationship with Amazon’s customer.
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to “‘nudge’ [Gifford’s] claims against [Sheil] ‘across the line from conceivable to plausible.’”

Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009).

     Specifically, Gifford has tried to establish “knowledge” or “substantial certainty” from the fact

that Sheil blocked Gifford from viewing Sheil’s Instagram and TikTok accounts. Dkt. 1 ¶¶ 14, 84.

That’s it. This doesn’t establish knowledge or substantial certainty. The Court is not required to

make inferential leaps on Plaintiffs’ behalf—rather, when the allegations cannot plausibly state the

claim, the Court should dismiss it. League of United Latin Am. Citizens v. Abbott, No.

121CV988RPJESJVB, 2022 WL 17477565, at *1 (W.D. Tex. Dec. 6, 2022) (“The court does not

strain to find inferences favorable to the plaintiffs or accept conclusory allegations, unwarranted

deductions, or legal conclusions.”) (citation and quotes omitted).

V.      Counts 7 & 8 for unfair competition and unjust enrichment both fail to state a claim.

     A. Both claims are preempted by the Federal Copyright Act.

        “Section 301 of the Copyright Act preempts state law claims that fall within the general

scope of federal copyright law.” Ultraflo Corp. v. Pelican Tank Parts, Inc., 845 F.3d 652, 655 (5th

Cir. 2017). “Courts generally find that claims for unjust enrichment [] are preempted by the

Copyright Act to the extent they are based on a defendant’s violation of an exclusive right protected

by the copyright law.” Recursion Software, Inc. v. Interactive Intel., Inc., 425 F. Supp. 2d 756, 769

(N.D. Tex. 2006). There is a two-prong test to determine whether the Copyright Act preempts a

state law cause of action. See Daboub v. Gibbons, 42 F.3d 285, 289 (5th Cir. 1995). First, courts

examine the state claim to “determine if it falls within the subject matter of copyright” Id. (internal

citations omitted). Second, “the cause of action is examined to determine if it protects rights that

are equivalent to any of the exclusive rights of a federal copyright, as provided in 17 U.S.C. §

106.” Id. (internal quotations omitted).



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       Here, Gifford alleges infringement of copyrighted works itself. See, e.g., Dkt. 1 at ¶¶ 12-

13, 16-19, 20-24, 27-28. As such, these works, by definition, fall within the subject matter of

copyright as defined by 17 U.S.C. § 102. In addition, Gifford alleges copying of “posts” (see, e.g.,

Dkt.1 at ¶¶ 25-28), website designs (see, e.g., Dkt. 1 at ¶¶ 29-30), and apparel designs (see, e.g.,

Dkt. 1 at ¶¶ 31-33). These works fall within the subject matter of copyright as defined in the Act.

See 17 U.S.C. § 102 (extending copyright protection to “literary works” and “pictorial, graphic,

and sculptural works”). Therefore, while Sheil disputes the merits of this claim, it is clear that

Gifford has alleged copyright infringement and, thus, any unjust enrichment claim based on those

same works falls within the subject matter of copyright defined by 17 U.S.C. § 102.

       Courts evaluate the equivalency requirement of the second prong using the “extra element”

test. Alcatel USA, Inc. v. DGI Techs., Inc., 166 F.3d 772, 787 (5th Cir. 1999). “According to this

test, if the act or acts of [defendant] would violate both [the state law claim] and copyright law,

then the state right is deemed “equivalent to copyright.” Id. “If, however, one or more qualitatively

different elements are required to constitute the state-created cause of action being asserted, then

the right granted under state law does not lie within the general scope of copyright, and preemption

does not occur.” Id. (internal quotations omitted).

       Here, the conduct upon which Gifford alleges unjust enrichment serves as the same basis

for her copyright infringement claim. Gifford only rehashes the copyright infringement facts for

the unjust enrichment cause of action without providing any factual support for the “extra element”

that is necessary to distinguish the state claim, and thus, the unjust enrichment claims are

preempted by federal copyright law.

       The unfair competition claim is preempted as well. Like Gifford’s claim for unjust

enrichment, her claim for unfair competition solely based on the same allegations that Sheil was


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“publishing and promoting infringing works.” Dkt. 1 at ¶ 88 (Count 7). As the Fifth Circuit has

recognized, a Texas-law claim for unfair competition is an “umbrella” claim that is not truly an

independent claim—rather, it must be predicated on another cause of action that is an “independent

tort.” Taylor Pub. Co. v. Jostens, Inc., 216 F.3d 465, 486 (5th Cir. 2000). Where the underlying

claims of a unfair competition claim are based on a particular federal statute, that federal statute

controls the analysis of the state-law claim. S & H Indus., Inc. v. Selander, 932 F. Supp. 2d 754,

763 (N.D. Tex. 2013) (Lanham Act controlled analysis of Texas-law unfair competition claim).

       Here, because Gifford’s unfair competition claim is based on the same allegations by the

Federal Copyright Act, there is no “extra element” needed to prove that claim as compared to the

Copyright Infringement claims Gifford is making. For that reason, it is preempted and must be

dismissed. Ultraflo Corp. v. Pelican Tank Parts, Inc., 823 F. Supp. 2d 578, 586–87 (S.D. Tex.

2011) (Dismissing unfair competition claim as “preempted by the federal Copyright Act” due to

the absence of a showing of “a difference between the claims.”); Alcatel USA, Inc. v. DGI Techs.,

Inc., 166 F.3d 772, 787 (5th Cir. 1999).

   B. Even if it were not preempted, Gifford fails to satisfy the pleading requirements for
      unjust enrichment.

       “A party may recover under the unjust enrichment theory when one person has obtained a

benefit from another by fraud, duress, or the taking of an undue advantage.” Heldenfels Bros. v.

City of Corpus Christi, 832 S.W.2d 39, 41 (Tex. 1992). Gifford simply asserts that Gifford has

been damaged by Sheil’s “unjust enrichment” without alleging facts to support how Sheil has been

unjustly enriched by a benefit obtained from Gifford. Gifford does not allege that Shiel received

anything from her, much less, how it was obtained by fraud, duress, or undue advantage.

       For these reasons, Gifford’s allegations of unjust enrichment are factually insufficient to

state a claim for which relief may be granted under Texas law. See Prophet Cap. Mgmt., Ltd. v.

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Prophet Equity, LLC, 2009 WL 3199115, at *2 (W.D. Tex. Sept. 25, 2009) (dismissing claim for

unjust enrichment where complaint fails to allege that benefit was obtained by fraud, duress, or

undue advantage, or any facts capable of proving the same); Baisden v. I'm Ready Prods., Inc.,

2008 WL 2118170, at *11 (S.D. Tex. May 16, 2008) (same); Sullivan v. Leor Energy, LLC, 2006

WL 2792909 at *5 (S.D. Tex. Sept. 27, 2006) (same).

                                         CONCLUSION
       For the reasons explained above, Gifford has failed to state a claim for any DMCA

violation, misappropriation of likeness, tortious interference with prospective relations, or unjust

enrichment. Counts 2, 3, 5, 6, 7, and 8 should be dismissed.




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Dated: June 21, 2024               Respectfully submitted,

                                   /s/ Jason McManis
                                   Jason S. McManis
                                   State Bar No.: 24088032
                                   Shahmeer Halepota
                                   State Bar No.: 24109968
                                   Sujeeth Rajavolu
                                   State Bar No.: 24127961
                                   Thomas Frashier
                                   State Bar No.: 24126185
                                   AHMAD, ZAVITSANOS & MENSING, PLLC
                                   1221 McKinney Street, Suite 2500
                                   Houston, Texas 77010
                                   (713) 655-1101
                                   jmcmanis@azalaw.com
                                   shalepota@azalaw.com
                                   srajavolu@azalaw.com
                                   tfrashier@azalaw.com

                                   Attorneys for the Defendants
                                   ALYSSA SHEIL, LLC AND
                                   ALYSSA SHEIL




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